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FORM B9A (Chapter 7 Individual or Joint Debtor No Asset Case) (03/14)                                         Case Number 8:15−bk−10728−MGW



                                       UNITED STATES BANKRUPTCY COURT
                                              Middle District of Florida
         Notice of Chapter 7 Bankruptcy Case, Meeting of Creditors, & Deadlines
                          A chapter 7 bankruptcy case concerning the debtor(s) listed below was filed on October 23, 2015 .
You may be a creditor of the debtor. This notice lists important deadlines. You may want to consult an attorney to protect your rights.
All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below. NOTE: The staff of the
bankruptcy clerk's office cannot give legal advice.
                      Creditors − Do not file this notice with any proof of claim you submit to the court.
                                      See Reverse Side For Important Explanations
Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
Kay N Johnson
aka Kay Nichols Johnson
4001 Beneva Rd. #312
Sarasota, FL 34233
Case Number:                                                              Social Security/Taxpayer ID/Employer ID/Other Nos.:
8:15−bk−10728−MGW                                                         xxx−xx−5624
Attorney for Debtor(s) (name and address):                                Bankruptcy Trustee (name and address):
Melanie Archer Newby                                                      Traci K. Stevenson
Jodat Law Group P.A.                                                      P O Box 86690
521 Ninth Street West                                                     Madeira Beach, FL 33738
Bradenton, FL 34205                                                       Telephone number: 727−397−4838
Telephone number: 941−749−1901

                                                         Meeting of Creditors
                    Debtor(s) must present Photo ID and acceptable proof of Social Security Number at § 341 meeting.
              You are reminded that Local Rule 5073−1 restricts the entry of personal electronic devices into the Courthouse.
Date: December 2, 2015                                               Time: 09:00 AM
Location: Room 100−C, 501 East Polk St., (Timberlake Annex), Tampa, FL 33602

                                     Presumption of Abuse under 11 U.S.C. § 707(b)
                                                   See "Presumption of Abuse" on reverse side.
The presumption of abuse does not arise.

                                                                  Deadlines:
                              Papers must be received by the bankruptcy clerk's office by the following deadlines:
          Deadline to File a Complaint Objecting to Discharge of the Debtor or to Challenge Dischargeability of Certain Debts:
                                                              February 1, 2016

                                               Deadline to Object to Exemptions:
                                         Thirty (30) days after the conclusion of the meeting of creditors.

                                         Creditors May Not Take Certain Actions:
In most instances, the filing of the bankruptcy case automatically stays certain collection and other actions against the debtor and the debtor's
property. Under certain circumstances, the stay may be limited to 30 days or not exist at all, although the debtor can request the court to extend
or impose a stay. If you attempt to collect a debt or take other action in violation of the Bankruptcy Code, you may be penalized. Consult a
lawyer to determine your rights in this case.

               Please Do Not File a Proof of Claim Unless You Receive a Notice To Do So.
                                                Creditor with a Foreign Address
A creditor to whom this notice is sent at a foreign address should read the information under "Do Not File a Proof of Claim at This Time" on the
reverse side.
Address of the Bankruptcy Clerk's Office:                                                                 For the Court:
Sam M. Gibbons United States Courthouse                                      Clerk of the Bankruptcy Court:
801 North Florida Avenue, Suite 555                                          Lee Ann Bennett
Tampa, FL 33602
Telephone number: 813−301−5162
Hours Open: Monday − Friday 8:30 AM − 4:00 PM                                Date: October 26, 2015
Notice is further given that effective on the date of the Petition, the United States Trustee appointed the above named individual as interim trustee
pursuant to 11 USC § 701.
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                                                             EXPLANATIONS                                                  FORM B9A (12/12)
Filing of Chapter 7      A bankruptcy case under Chapter 7 of the Bankruptcy Code (title 11, United States Code) has been filed in this court by
Bankruptcy Case          or against the debtor(s) listed on the front side, and an order for relief has been entered.

 Legal Advice              The staff of the bankruptcy clerk's office cannot give legal advice. Consult a lawyer to determine your rights in this
                           case.

Creditors Generally  Prohibited collection actions are listed in Bankruptcy Code §362. Common examples of prohibited actions include
May Not Take Certain contacting the debtor by telephone, mail or otherwise to demand repayment; taking actions to collect money or obtain
Actions              property from the debtor; repossessing the debtor's property; starting or continuing lawsuits or foreclosures; and
                     garnishing or deducting from the debtor's wages. Under certain circumstances, the stay may be limited to 30 days or not
                     exist at all, although the debtor can request the court to extend or impose a stay.
Presumption of Abuse If the presumption of abuse arises, creditors may have the right to file a motion to dismiss the case under § 707(b) of the
                     Bankruptcy Code. The debtor may rebut the presumption by showing special circumstances.
Meeting of Creditors     A meeting of creditors is scheduled for the date, time and location listed on the front side. The debtor (both spouses in a
                         joint case) must be present at the meeting to be questioned under oath by the trustee and by creditors. Creditors are
                         welcome to attend, but are not required to do so. The meeting may be continued and concluded at a later date without
                         further notice.
Do Not File a Proof of There does not appear to be any property available to the trustee to pay creditors. You therefore should not file a proof of
Claim at This Time     claim at this time. If it later appears that assets are available to pay creditors, you will be sent another notice telling you
                       that you may file a proof of claim, and telling you the deadline for filing your proof of claim. If this notice is mailed to a
                       creditor at a foreign address, the creditor may file a motion requesting the court to extend the deadline. Do not include
                       this notice with any filing you make with the court.
Discharge of Debts     The debtor is seeking a discharge of most debts, which may include your debt. A discharge means that you may never try
                       to collect the debt from the debtor. If you believe that the debtor is not entitled to receive a discharge under Bankruptcy
                       Code §727(a) or that a debt owed to you is not dischargeable under Bankruptcy Code §523(a)(2), (4), or (6), you must
                       start a lawsuit by filing a complaint − or a motion if you assert the discharge should be denied under §727(a)(8) or (a)(9)
                       −in the bankruptcy clerk's office by the "Deadline to File a Complaint Objecting to Discharge of the Debtor or to
                       Challenge Dischargeability of Certain Debts" listed on the front side. The bankruptcy clerk's office must receive the
                       complaint or motion and any required filing fee by that Deadline.
Exempt Property          The debtor is permitted by law to keep certain property as exempt. Exempt property will not be sold and distributed to
                         creditors. The debtor must file a list of all property claimed as exempt. You may inspect that list at the bankruptcy
                         clerk's office. If you believe that an exemption claimed by the debtor is not authorized by law, you may file an objection
                         to that exemption. The bankruptcy clerk's office must receive the objections by the "Deadline to Object to Exemptions"
                         listed on the front side.
Bankruptcy Clerk's       Any paper that you file in this bankruptcy case should be filed at the bankruptcy clerk's office at the address listed on
Office                   the front side. You may inspect all papers filed, including the list of the debtor's property and debts and the list of the
                         property claimed as exempt, at the bankruptcy clerk's office.

Creditor with a Foreign Consult a lawyer familiar with United States bankruptcy law if you have any questions regarding your rights in this
Address                 case.

                           −− Refer to Other Side for Important Deadlines and Notices −−
                                 McVCIS provides basic case information concerning deadlines such as case opening and closing date,
Voice Case Info. System (McVCIS) discharge date and whether a case has assets or not. McVCIS is accessible 24 hours a day except when
                                 routine maintenance is performed. To access McVCIS toll free call 1−866−222−8029.
